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UNITED STATES ])ISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No.:

 

CYNTHIA E. KISSNER,
on her behalf and on behalf of all
others similarly situated, and
LEONARD WERNER, on his
behalf and on behalf of all others
similarly situated,

Plaintiffs,

VS.

MeDONALD’S CORPORATION,
a Delaware corporation,

Defendant.
/

CLASS ACTION COMPLAINT

Plaintiffs CYNTHIA E. KISSNER, on her behalf and on behalf of all others similarly
situated, and LEONARD WERNER, on his behalf and on behalf of all others similarly situated,
sue Defendant MCDONALD’S CORPORATION, a Delaware corporation (“MCDONALD’S”),
and allege as follows:

INTRODUCTI()N

l. McDONALD’S sells billions of hamburgers, and other related products, including
french fries and soft drinks, often sold in combination packages Among MCDONALD’S signature
hamburgers is the Quarter Pounder®, Which is comprised cfa one-quarter pound hamburger With
onion, picl<les, ketcliup and mustard on a bun. McDONALD’S also sells a Double Quarter
Pounder®, Which is comprised of two one-quarter pound hamburgers and all of the other

components of a Quarter Pounder®. McDONALD’S offers both of these products With two slices

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of cheese added, advertising and selling them as a Quarter Pounder® with cheese, and a Double
Quarter Pounder® with cheese McDonald’s restaurants charge between .30¢ to .90¢ for the
cheese added to these products.

2. McDONALD’S also offers value meals, comprised of one of its hamburger
products, french fries and a drink. Over time, McDONALD’S has offered value meals that include
either a Quarter Pounder®, a Quarter Pounder® with cheese, a Double Quarter Pounder®, or a
Double Quarter Pounder® with cheese.

3. For years, McDONALD’S advertised and displayed on menus a Quarter Pounder®,
a Quarter Pounder® with cheese, a Double Quarter Pounder®, and a Double Quarter Pounder®
With cheese, as four separate items available to be purchased at McDonald’s restaurants

4. At some point, while McDONALD’S continued to offer the Quarter Pounder® and
the Double Quarter Pounder®, it ceased separately displaying these products for purchase on
menus. Instead, McDONALD’S only listed the Quarter Pounder® with cheese and Double
Quarter Pounder® with cheese as menu items, including their availability for purchase as part of
a value meal. A customer who wanted a Quarter Pounder®, was required to order and pay for a
Quarter Pounder® with cheese, which was given to the customer without cheese. Similarly, When
a customer wanted a Double Quarter Pounder®, the customer was required to order and pay for a
Double Quarter Pounder® with cheese, which was given to the customer without cheese. This
practice was also employed when a customer wanted a value meal that included either a Quarter
Pounder® or a Double Quarter Pounder®.

5. As a result, notwithstanding the availability of Quarter Pounders® and Double
Quarter Pounders®, customers have been forced, and continue to be overcharged for these
products, by being forced to pay for two slices of cheese, which they do not want, order, or reeeive,

to be able to purchase their desired product. As more fully explained herein, these practices have

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occurred, and continue to occur (with one recent exception) at McDonald’s restaurants throughout
the country.

6, MCDONALD’S practices of forcing customers to pay for cheese they do not
receive as a condition to purchasing a Quarter Pounder®, a Double Quarter Pounder®, or a value
meal that includes these products, is anticompetitive and a per se violation of the antitrust laws,
constituting an illegal tying arrangement

7. MCDONALD’S practices are also unfair, and are deceptive and misleading to the
public, because notwithstanding the product history, promotion, advertising and availability of the
Quarter Pounder® and the Double Quarter Pounder®, these products cannot be purchased either
separately, or as part of a value meal, without the customer being overcharged, and being
compelled to pay for unwanted and undelivered cheese.

8. McDONALD’S is being unjustly enriched by these practices because it receives
payment for cheese it does not deliver to its customers

'I`he Parties and the Nature of the Proceedings

9. Plaintiff CYNTHIA E. KISSNER (“KISSNER”), is sui juris, and a resident of
Broward County, Florida, who regularly eats at McDonald’s restaurants, and often orders Quarter
Pounders®, Double Quarter Pounders®, and has ordered value meals that include one of these
products

l(). Plaintiff LEONARD WERNER (“WERNER”), is sui juris, and a resident of
l\/[iami-Dade County, Florida, who regularly eats at McDonald’s restaurants, and often orders
Quarter Pounders®, and Double Quarter Pounders®.

ll. Defendant McDONALD’S is a corporation organized, existing, and in good

standing under the laws of the state of Delaware. McDONALD’S is the franchisor of MeDonald’s

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restaurants located throughout the country, and owns and operates a number of McDonald’s
restaurants throughout the country.

12. This is an action maintained on behalf of the Plaintiffs, individually, and as class
representatives of the classes defined herein, for the recovery of damages in excess of the
jurisdictional limits of this Court, exclusive of attorney’s fees and costs, for the commission of
unfair and deceptive trade practices, for unjust enrichment, and for violations of the Sherman Act
for which the Plaintiff class members are entitled to recover treble damages and attorney’s fees.

.]urisdiction and Venue
l3. This Court has jurisdiction over this cause pursuant to:
a. 28 U.S.C. §1331, with respect to the claims asserted under federal law, and
b. 28 U.S.C. §1332 (d), with respect to the state court claims that are asserted
on a class wide basis With respect to these claims, the matter in controversy
exceeds $5 million, exclusive of interest and eosts, and there are members
of the class who are citizens of a state different from that of Defendant
McDONALD’S.
'l`his Court also has supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28
U.S.C. §1367.
l 14. This Court has personal jurisdiction over Defendant McDONALD’S because it is
authorized to do business, and in fact does business, in the Southern Distriet of Florida, it has
sufficient minimum contacts within this District, and Defendant McDONALD’S otherwise
intentionally avails itself of the markets in this state and in this Distriet through its promotion,
marketing, distribution, and sale of McDONALD’S products, and its ownership and operation of
numerous restaurants within this District, thus rendering the exercise of jurisdiction by this Court
permissible under Florida law and the U.S. Constitution.

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lS. Venue of this cause is proper in the Southem Distriet of Florida pursuant to 28
U.S.C. §1391 (a), because there are a number of McDonald’s restaurants owned by
McDONALD’S in the District, a substantial part of the events or omissions giving rise to the
claims at issue arose in this District, Class Members including the named Plaintiffs, residing in
this DistrietJ have been harmed as a result of the Defendant’s acts or omissions in this District, and
Defendant McDONALD’S is subject to the Court’s personal jurisdiction with respect to this
action.

Factual Allegations

16. McDONALD’S is an American hamburger and fast food restaurant chain that was
founded in 1940. 'l`he first McDONALD’S franchise using the golden arches logo opened in
Phoenix, Arizona in 1953. There are currently over 14,000 McDonald’s restaurants located
throughout the United States7 of which approximately 82% are franchised. McDONALD’S owns
the remaining approximate 2500 restaurants

l7. Defendant McDONALD’S establishes business practices for all 14,000+ of the
l\/chcnald’s restaurants located within the United States. All products sold at McDonald’s
restaurants have to be approved by Defendant McDONALD’S. All advertising is coordinated and
implemented by Defendant McDONALD’S. Store signage, including the menus, are developed by
Defendant McDONALD’S, and is distributed to all locations Eaeh restaurant’s cash registers are
designed and approved by McDONALD’S, who dictates which products are sold, how they are
sold, and their relative prices

l8. One of McDONALD’S signature products is the Quarter Pounder®. ln 1975, the
Quarter Pounder® was trademarked, and was thereafter advertised and marketed as a product that
includes the following components

a. one Topp’s % lb frozen beef patty

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b. one sesame seed bun
c. one tablespoon fresh onion. . .diced
d. mustard, ketchup

e. two HEINZ hamburger slices (pickles)
Over the ensuing years, MCDONALD’S offered the Quarter Pounder® for sale at McDonald’s
restaurants

19. At some point, in addition to the Quarter Pounder®, McDONALD’S began offering
as a separate listed menu item, a Quarter Pounder® to which two slices of cheese were added. This
product has been, and continues to be advertised and marketed as a “Quarter Pounder® with
cheese”, affirming that the product being offered for sale is a Quarter Pounder® hamburger to
which cheese is added. The price of a Quarter Pounder® with cheese includes a charge for the two
pieces of cheese that are added to the Quarter Pounder®.

20. At some point, McDONALD’S began offering for sale a Double Quarter
Pounder®, which is a Quarter Pounder® with a second 'l`opp’s %r frozen beef patty.
McDONALD’S also offered for sale as a menu item a Double Quarter Pounder® with cheese,
which is a Double Quarter Pounder® to which two slices of cheese are added. The price of a
Double Quarter Pounder® with cheese includes a charge for the two pieces of cheese that are
added to the Double Quarter Pounder®

21. McDONALD’S also offers value meals, which includes one of its offerings of
hamburgers, with french fries and a soft drink, for a lower price than the price for which the items
can be separately purchased Valuc meals have been available which have included Quarter

Pounders®, Quarter Pounders® with cheese, Double Quarter Pounders®, or Double Quarter

Pounders® with cheese.

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22. McDONALD’S offers certain products which, by design and composition, include
cheese. For example, MCDONALD’S offers both a hamburger and a cheeseburger. A
cheeseburger includes cheese as one of its components McDONALD’S charges a higher price for
a cheeseburger than for a hamburger, the price differential being attributable to the cost of the
cheese included as part of a cheeseburger. McDONALD’S also offers a Big Mac®, which is a
trademarked product whose components include two beef patties, special sauce, lettuce, cheese,
pickles and onion, on a sesame seed bun. The price of a Big Mac® includes a charge for the cheese
that is included as a component of the product

23. McDONALD’S also offers customers the opportunity to customize their orders of
standard products, by deleting, or by adding components to the products For example, a customer
can add cheese to a standard product, in which event the customer is charged between .20¢ and
.40¢, for the added slice of cheese.

24. Customers can purchase products from McDonald’s restaurants by entering the
restaurant and ordering at the counter, ordering at the drive through, and recently, by ordering
through use of the McDONALD’S mobile app, which can be downloaded to a phone or other
electronic device. ln recent years, l\/chONALD’S point of purchase advertising, signage, and
menus have been foirnatted so that many products and offerings are assigned a number.
McDONALD’S menus have identified the Quarter Pounder® with cheese and the Double Quarter
Pounder® with cheese as items on the menus, both of which are assigned numbers For some
timeJ McDONALD’s has not listed as menu items either the Quarter Pounder®, the Double
Quarter Pounder®, or value meals including these products

25. When a customer wants to purchase a Quarter Pounder®, if they order from the
menu and use the numbers assigned to products they will ask for the number assigned to the

Qualter Pounder® with cheese, and order it without cheese. If the customer orders a Quarter

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Pounder® by name, they are required to order a Quarter Pounder® With cheese, and order it

without cheese. ln either event, the customer is charged for a Quarter Pounder® with cheese, and

receives a Quarter Pounder®. This also applies to the ordering and purchase of a Double Quarter

Pounder®. ln all such instances, McDONALD’S overcharges the customers for their desired

products, because the customers are charged between .30¢ and .90¢ for two slices of cheese the

customers do not want, do not order, and do not receive.

26. The receipts for the purchases of these products con'oborates McDONALD’S

practices The following receipts were given to Plaintiff KISSNER for her purchases:

RECEIPT “A”:

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the price of a Quarter Pounder® with cheese for both the Quarter Pounder® with cheese and for

the Quarter Pounder® she purchased Receipt “B” evidences that, in connection with this

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transaction, Plaintiff KlSSNER was charged the price of the Double Quarter Pounder® with
cheese for both the Double Quarter Pounder® with cheese and for the Double Quarter Pounder®
she purchased

27. Plaintiff WERNER has experienced the same practices Plaintiff WERNER
received Receipt “C”, in connection with his purchase of a Quarter Pounder® and a Quarter
Pounder® with cheese, which reflects that he was charged the same price for a Quarter Pounder®
and for a Quarter Pounder® with cheese. Plaintiff WERNER received Receipt “D”, when he

ordered a Double Quarter Pounder® and a Double Quarter Pounder® with cheese, and was

charged the same price for both products

RECEIPT “C”:

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28. Further, customers who want to purchase a value meal that includes a Quarter
Pounder® or a Double Quarter Pounder®, and place their order using the numbers assigned to the
value meal on the menus, are forced to order a value meal that includes either a Quarter Pounder®
with cheese, or a Double Quarter Pounder® with cheese, and to order it without cheese. Even if
the value meal is ordered by description rather than by number, the customer is placed in the same
position. In both instances these customers are charged the price of a value meal that includes a
Quarter Pounder® with cheese or a Double Quarter Pounder® without cheese, notwithstanding
that they want a value meal that includes a Quarter Pounder® or a Double Quarter Pounder®. ln
all such instances, the value meal delivered includes a Quarter Pounder® or a Double Quarter
Pounder®, as applicable

29. Notwithstanding McDONALD’S ongoing practices, McDONALD’S has affirmed
that a Quarter Pounder® can be purchased, and for less than a Quarter Pounder® with cheese, and
that a Double Quarter Poturder® can be purchased, and less expensively than a Double Quarter
Pounder® with cheese. ln this regard, upon information and belief, McDONALD’S registers have
always included an icon for a Quarter Pounder®, and a separate icon to order and charge a higher
price for a Quarter Pounder® with cheese, or some method for separately accepting orders and
charging for these two distinct products Similarly, upon information and belief, the registers have
included icons to enable a cashier to ring up and charge for a Double Quarter Pounder®, and a
separate icon to ring up and charge a higher price for a Double Quarter Pounder® with cheese, or
some method for separately accepting orders for these two distinct products This is corroborated
by Receipt “E”, which reflects the purchase of a “Qtr Pounder Hamb”, which is a Quarter
Pounder®, for $3.79, and the purchase of a “Qtr Pounder Cheese”, which is a Quarter Pounder®

with cheese, for $4.19:

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RECEIPT “E”:

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30. Further, there are third party companies that provide delivery services for
restaurants, including l\/.[cDonald’s restaurants These third party services list on their menus both
a Quarter Pounder® and a Quarter Pounder® With cheese, and charge less for the Quarter
Pounder® than for the Quarter Pounder® With cheese. These companies also list on their menus
both a Double Quarter Pounder® and a Double Quarter Pounder® With cheese, and charge less
for the Double Quarter Pounder® than for the Double Quarter Pounder® With cheese. These third
party companies’ systems are synced With McDONALD’S ordering system, and are able to place
these orders and charge different prices for the Quarter Pounder® and the Quarter Pounder® With
cheese because McDONALD’S offers a Quarter Pounder® to the third party companies for a lower
price than a Quarter Pounder® With cheese, and charges the third party companies less for a Double
Quarter Pounder® than for a Double Quarter Pounder® With cheese.

3 l. Further, McDONALD’S recently updated its app. On its current app,
McDONALD’S lists a Quarter Pounder®, as a menu item, and also lists a Quarter Pounder® With
cheese as a separate menu item. The Quarter Pounder® is priced between .30¢ and .90¢ less than
the Quarter Pounder® With cheese. Sirnilarly, a Double Quarter Pounder® is listed as a menu item
as is a Double Quarter Pounder® With cheese. The Double Quarter Pounder® can be purchased
for at least .80¢ less than the separately listed Double Quarter Pounder® With cheese.

32. Notwithstanding McDONALD’S app menu and pricing, customers Who Walk into,
or drive through a McDonald’s restaurant today and order a Quarter Pounder® or a Double Quarter
Pounder®, are still forced to order, and are charged the price of a Quarter Pounder® With cheese
to purchase a Quarter Pounder®, and are forced to order, and are charged for a Double Quarter
Pounder® With cheese to purchase a Double Quarter Pounder®, Also, customers Who Want a

value meal that includes either a Quarter Pounder® or a Double Quarter Pounder® still have to

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order and pay the higher price for a value meal that includes either a Quarter Pounder® With
cheese, or a Double Quarter Pounder® vvith cheese, as applicable

33. Ultimately, through these practices, customers Who Want a Quarter Pounder® or a
Double Quarter Pounder®, or a value meal including one of these products, have been
overcharged, and coerced to order, purchase and pay for cheese that they do not Want and do not
receive as a condition to their purchase of the desired hamburger.

34. McDONALD’S benefits from the practices described herein, and from each of the
sales made pursuant to these practices, in manners including the following:

a. McDONALD’S own McDonald’s restaurants at Which the disputed sales
occur, at Which McDONALD’S directly collects all sums paid for the
products in issue,

b. McDONALD’S receives franchise fees from its franchisees based on their
revenues, Which includes the revenues generated from the practices
described herein, and

c. As a result of these practices, McDONALD’S profit margins are increased,
as are the profit margins of its franchisees, Which benefits McDONALD’S
stock price and facilitates McDONALD’S sale of new franchises

35. The named Plaintiffs have purchased Quarter Pounders®, Double Quarter
Pounders®, and value meals including these products, and has been charged the prices charged for
the Quarter Pounder® With cheese, the Double Quarter Pounder® With cheese, and the price of
value meals that include these productsl

F acts Specil"lc to Named Plaintiffs
36. During the four years before the filing of this Complaint (the “Relev`ant Time

Period”), Within the District, there Were occasions on Which Plaintiffs KlSSNER and WERNER

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purchased and received Quarter Pounders® and Double Quarter Pounders®, and were charged for
Quarter Pounders® with cheese and Double Quarter Pounders® with cheese.

37. Also, during the Relevant Time Period, Within the District, there were occasions on
which Plaintiff KISSNER purchased and received value meals that included a Quarter Pounder®
or a Double Quarter Pounder®, and was charged for value meals that included a Quarter Pounder®
with cheese or a Double Quarter Pounder® with cheese.

38. Plaintiffs KISSNER and WERNER suffered injury as a result of their purchases
because they were overcharged, and were required to pay for cheese, which is not a component of
either a Quarter Pounder® or a Double Quarter Pounder®, that they did not want and did not
receive

CIass Action Allegations

39. Plaintiffs KISSNER and WERNER bring this lawsuit as a class action on their own
behalf and on behalf of all other persons similarly situated as members of the proposed class,
pursuant to Fed. R. Civ. P. 23 (a), (b) (l), (b) (2), (b) (3), and (c) (4). This action satisfies the
numerosity, commonality, typicality, adequacy, ascertainability, predominance, and superiority
requirements of these provisions

40. The Class claims are based on McDONALD’S conduct of misrepresenting their
products through its advertising and signage, and charging customers for unwanted and
undelivered cheese when a customer wants a Quarter Pounder®, a Double Quarter Pounder®, or
a value meal that includes one of these products

41. Plaintiffs bring this action and seek to certify and maintain it as a class action under
Rules 23 (a), (b) (1), (b) (2), (b) (3), and (c) (4), on behalf of themselves and a nationwide class,

defined as follows:

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Nationwide Class

With respect to Count l, the Sherman Act Tying Arrangement claim, all retail consumers
who, during the Relevant Time Period, purchased from a McDonald’s restaurant in the United

States, either:

a. a Quarter Pounder®, and Was charged for a Quarter Pounder® with cheese,
b. a Double Quaiter Pounder®, and was charged for a Double Quarter
Pounder® with cheese,
c. a value meal that included a Quarter Pounder®, or
d. a value meal that included a Double Quarter Pounder®.
42. Plaintiffs also seek to represent the following subclasses, defined as follows:

Florida Subclass

With respect to Count ll, the Florida Deceptive and Unfair Trade Practices Act claims, all
retail consumers who, within the Relevant fl`ime Period, purchased from a McDonald’s restaurant
in Florida, either:

a. a Quarter Pounder®, and Was charged for a Quarter Pounder® with cheese,

b. a Double Quarter Pounder®, and was charged for a Double Quarter
Pounder® with cheese,

c. a value meal that included a Quarter Pounder®, or

d. a value meal that included a Double Quarter Pounder®.

U.E. Subclass

With respect to Count lll, the Unjust Em‘ichment claim, all retail consumers who, within
the Relevant Time Period, purchased from a McDonald’s restaurant in Florida, California, New
Yoi‘k, Pennsylvania, Ohio, l\/lichigan, Nebrasl<a, lllinois or Texas, or in such additional states
ultimately included herein (collectively the “U.E. States”), either:

a. a Quarter Pounder®, and was charged for a Quarter Pounder® With cheese,

b. a Double Quarter Pounder®J and was charged for a Double Quarter
Pounder® with cheese,

c. a value meal that included a Quarter Pounder®, or

d. a value meal that included a Double Quarter Pounder®.

43. Excluded from thc Nationwide Class, the Florida Subclass and the U.E. Subclass
(the Natioiiwide Class, the Florida Su'bclass", and the U.E. Subclass each separately referred to as
a “Class”, and collectively as the “Classes”, and the members of the Classes referred to as the

“Class Members”), are:

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a. Defendant McDONALD’S, any entity or division in which Defendant has
a controlling interest, and its legal representatives, employees, officers,
directors, assigns, heirs, successors, whole or part subsidiaries, their
affiliates, and franchisees,
b. the Judge to whom this case is assigned and the .ludge’s staff,
c. governmental entities, and
d. those persons who have suffered personal injuries as a result of the facts
alleged herein.
44, Plaintiffs reserve the right to add to or amend the Class definitions if discovery or
further investigation reveal that any Class should be added, expanded, divided into additional
subclasses, or modified in any other way.

Numcrosi§y

45. This action satisfies the numerosity requirement of Fed. R. Civ. P, 23 (a) (l). Upon
information or belief, during the Relevant Time Period, through its restaurants, McDONALD’S
has sold hundreds of thousands or millions of Quarter Pounder® and Double Quarter Pounders®
while charging for cheese that was not ordered, wanted or delivered, both nationwide, within the
state of Florida, and within the U.E. States. Each of these Classes are so numerous that individual
joinder of all Class Members is impracticable

46. Although the exact number of Class Members is uncertain and can only be
ascertained as described herein, the number is great enough that joinder is impracticable Further,
the disposition of the claims of these Class Members in a single action will provide substantial

benefits to all parties and to the Court.

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Common Ouestions of Law and F act
47. There are numerous questions of law and fact that are common to the claims of

Plaintiffs and all Class Members, which predominate over any questions affecting only individual
members of the Classes. Among the questions of law and fact common to the Class Members are
the following:

a. ls the Quarter Pounder® a trademarked product of McDONALD’S?

b. Has McDONALD’S advertised and marketed the Quarter Pounder®?

c. What are the components of a Quarter Pounder®?

d. Has McDONALD’S offered for sale a Quarter Pounder® with cheese?

e. Has McDONALD’S offered for sale a Quarter Pounder®?

f. Does McDONALD’S direct or require a customer who wants a Quarter

Pounder® to order and pay for a Quarter Pounder® with cheese?

g. Has l\/chONALD’S advertised and marketed the Double Quarter

Pounder®?
h. What are the components of a Double Quarter Pounder®?
i. Has McDONALD’S offered a Double Quarter Pounder®?
j. Does McDONALD’S direct or require a customer who wants a Double

Quarter Pounder® to order and pay for a Double Quarter Pounder® with
cheese?

k. Does l\/chONALD’S offer a value meal that includes a Quarter Pounder®,
fries, and a drink?

l. Does MCDONALD’S direct or require a customer who wants to purchase a
value meal that included a Quarter Pounder® to pay the price of a value

meal that includes a Quarter Pounder® with cheese?

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ii.
iii.

iv.

ii.
iii.

iv.

Does l\/chONALD’S offer a value meal that includes a Double Quarter
Pounder®, fries, and a drink?
Does McDONALD’S director require a customer who wants to purchase a
value meal that includes a Double Quarter Pounder® to pay the price of a
value meal that includes a Double Quarter Pounder® with cheese?
Are a Quarter Pounder® and cheese two separate products?
Does McDONALD’S have sufficient market power in the sale ofburgers to
coerce customers to pay for unwanted cheese?
Are a Double Quarter Pounder® and cheese two separate products?
Does McDONALD’S have sufficient market power in the sale of burgers to
coerce customers to pay for unwanted cheese?
Has McDONALD’S engaged in unfair or deceptive trade practices with
respect to the advertising, marketing, and sale of:

Quarter Pounders®,

Double Quarter Pounders®,

Value meals that include Quarter Pounder®, and

Value meals that include Double Quarter Pounders®
Has McDONALD’S overcharged for the sale of:

Quarter Pounders®,

Double Quarter Pounders®,

Value meals that include Quarter Pounder®, and

Value meals that include Double Quarter Pounders®

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u. Has MCDONALD’S been unjustly enriched at the Class Members’ expense
by requiring them to purchase and pay for cheese they do not want or
receive?

v. Have Plaintiffs and the members of the Classes been damaged by
McDONALD’S conduct?

w. Are Plaintiffs and the members of the Classes entitled to recover damages
as a result of McDONALD’S conduct?

x. Are Plaintiffs and the members of the Classes entitled to recover treble
damages as a result of McDONALD’S anticompetitive conduct?

y. Should McDONALD’S be enjoined from engaging in the practices
described herein?

48. The common questions in this case are capable of generating common answers
which are apt to drive the resolution of this action.

Typicali§y

49. Plaintiffs’ legal claims are typical of the claims of the Class Members, and arise
from the same course of conduct by Defendant l\/chONALD’S. There is a sufficient nexus
between the legal claims of the named Plaintiffs and the Class Members. The representative
Plaintiffs, like all Class Meinbers, have been damaged by Defendant MCDONALD’S actions
Further, the factual basis of Defendant McDONALD’S misconduct is common to all Class
Members and represents the common thread of misconduct resulting in damages to all Class
l\/lembers. The legal claims and relief Plaintiffs seek are typical of the legal claims and relief sought

for the Class I\/[embers.

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Adequacv of Representation

50. Plaintiff KlSSNER and Plaintiff WERNER are adequate representatives of the
Classes, and will fairly and adequately protect the interests of the Class Members Plaintiffs
KISSNER and WERNER are committed to the vigorous prosecution of this action, and have no
conflict with any other Class l\/lembers.

5 l, Plaintiffs have retained counsel with experience in complex commercial litigation,
including in defending various class actions, and in the handling of the type of claims that are
asserted in this action Putative class counsel have the resources, education, and experience to
successfully prosecute this class action Plaintiffs’ counsel does not have any relationship with the
named Plaintiffs, or interests adverse to those of Plaintiffs or of the Class Members.

Ascertainability

52. The Classes are clearly ascertainable because their members can be readily
identified through objective criteria that are administratively feasible through a manageable
process, using methods including the following:

a. Defendant McDONALD’S maintains records regarding its sale of its
products, including Quarter Pounders®, Quarter Pounders® With cheese
that are ordered without cheese, Double Quarter Pounders®, Double
Quarter Pounders® with cheese that are ordered without cheese, value
meals that include Quarter Pounders® that are ordered without cheese, and
value meals including Double Quarter Pounders® that are ordered without
cheese. _Those members of the Class who used credit cards to pay for their
purchases during the Relevant Time Period can be identified from
Defendant McDONALD’S records, which includes information regarding

Class Members’ credit card numbers

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b. Consumers shall be able to recall and affirm that they are Class l\/lembers.
The products in issue are not costly. Under such circumstances it is
appropriate to have members of the Classes identify themselves by
submitting affidavits affirming their status as Class Members.

Predominance of Common Issues

53. There are numerous common questions of law and fact that predominate over any
questions affecting only individual Class l\/lembers. The answers to these common questions of
law and fact will advance resolution of the litigation as to all Class Members and claims These
predominant common legal and factual questions include each of those identified in paragraph 47,
hereof

54. Plaintiffs and Class l\/lembers have all suffered and will continue to suffer harm and
damages as a result of Defendant McDONALD’S unlawful and wrongful conduct A class action
is superior to other available methods for the fair and efficient adjudication of this controversy

55. The prosecution of separate actions by the individual Class Members on the claims
asserted herein would create a risk of inconsistent or varying adjudications for individual Class
l\/lember‘s, which would establish incompatible standards of conduct for Defendant
McDONALD’S.

56. Because adjudication with respect to individual Class Meinbers would, as a
practical matter, be dispositive of the interest of other Class Members, or impair substantially or
impede their ability to protect their interests, a class action is superior to all other methods of
litigation

57. Absent a class action, most Class Members would likely find the cost of litigating

their individual claims prohibitively high and they would, therefore not have any effective remedy

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at law. Because the damages suffered by each individual Class Member may be relatively small,
the expense and burden of individual litigation would make it very difficult or impossible for
individual Class Members to redress the wrongs done to each of them, such that most or all Class
l\/lembers would have no rational economic interest in individually controlling the prosecution of
specific actions Further, Class Members are disbursed throughout the country, raising the
possibility of numerous lawsuits in numerous jurisdictions if this action does not proceed as a class
action.

58. The burden imposed on the judicial system by individual litigation by even a small
fraction of the Class Members would be enormous making class adjudication the superior
alternative under Fed. R. Civ. P. 23 (b) (3) (A). Absent a class action, Class Members will continue
to incur damages and Defendant’s misconduct will continue without remedy.

59. The conduct of this action as a class action presents far fewer management
difficulties far better conserves judicial resources and the parties’ resources, and far more
effectively protects the rights of each Class member than would piecemeal litigationl Compared
to the expense, burden, inconsistencies economic infeasibility, and inefficiencies of individualized
litigation, the challenges of managing this action as a class action are substantially outweighed by
the benefits to the legitimate interests of the parties, the Court, and the public of class treatment in
this Couit, making class adjudication pursuant to Fed. R. Civ. P. 23 superior to other alternatives

23 (bl (1] Requirenients

60. Certification is appropriate under Fed. R. Civ. P. 23(b)(l), because the prosecution
of separate claims or defenses by or against members would create a risk of:

a. inconsistent or varying adjudications concerning individual members of the
Class which would establish incompatible standards of conduct for the party

opposing the Class; and

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b. adjudications with respect to individual Class Members that, as a practical
matter, would be dispositive of the interests of other members not parties to
the individual adjudications or would substantially impair or impede the
ability to protect their interests

61. Specifically, the rights of Class Members regarding claims against Defendant
McDONALD’S for actively tying the sale of two separate products overcharging for products
charging for unwanted products and unjustly benefitting at the expense of the Class l\/.lembers,
overlap among the Class l\/lembers.

62. Under these circumstances it is not possible for the rights of Class Members to be
determined individually without disposing of or substantially affecting the rights of other Class
l\/.lembers and their entitlement to recover damages incurred as a result of Defendant
McDONALD’S acts and omissions

Rule 23 (b) (2) Requirements

63. Certification is appropriate under Fed. R. Civ. P. 23 (b) (2), because Defendant
l\/chONALD’S has acted in a manner generally applicable to all Class Members thereby making
injunctive or declaratory relief concerning the Classes as a whole, appropriate

64. l\/lore specifically Defendant McDONALD’S has overcharged the Class Members
for Quarter Pounders®, Double Quarter Pounders® and value meals including these products
forcing them to pay for an unwanted product they did not receive

Rule 23 (b) (3) Requirernents

65. Plaintiff and the Class are seeking money damages Thus, certification is
appropriate under Fed. R. Civ. P. 23 (b) (3), because the common questions set forth above
predominate over any questions affecting only individual issues and a class action is superior to

other available methods for fairly and efficiently adjudicating the controversy The Class Members

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have an interest in class adjudication rather than individual adjudication because of the overlapping
rights lt is highly desirable to concentrate the resolution of these claims in this single forum.
Management of the Classes will be less difficult than individual lawsuits
Eguitable Relief

66. Classwide declaratory, equitable, and injunctive relief is appropriate under Rule
23(b)(1) and/or (b)(2), because Defendant McDONALD’S has acted on grounds that apply
generally to the Classes and inconsistent adjudications with respect to the Defendant’s liability
would establish incompatible standards and substantially impair or impede the ability of Class
Members to protect their interests Classwide relief assures fair, consistent, and equitable treatment
and protection of all Class l\/lembers, and uniformity and consistency in Defendant’s discharge of
its duties to perform corrective action regarding the products and practices in issue

COUNT l
Sherman Act Tving Arrangement

6?. Plaintiffs KISSNER and WERNER and the Nationwide Class Members
incorporate by reference paragraphs l through 66.

68. This is a claim for violations of § l and § 15 of the Sherman Act, for Defendant
McDONALD’S and its franchisees’ combinations in restraint of trade and commerce through the
employment of illegal tying arrangements

69. The Quarter Pounder® is a distinct product Cheese is a second, separate and
distinct product from a Quarter Pounder®.

70. The Double Quarter Pounder® is a distinct product Cheese is a second, separate
and distinct product from a Double Quarter Pounder®

71. By definition and description, which has been affirmed and reinforced through
McDONALD’S promotion and advertising, a Quarter Pounder® does not include cheese. lnstead,

cheese is a separate and distinct product that can be added to a Quarter Pounder®.
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72. By definition and description, and reinforced through McDONALD’S promotion
and advertising, a Double Quarter Pounder® does not include cheese. lnstead, cheese is a separate
and distinct product that can be added to a Double Quarter Pounder®.

73. MCDONALD’S forced and coerced members of the Nationwide Class to purchase
and pay for the separate and distinct tied product, cheese, as a condition to purchasing the tying
product, a Quarter Pounder®, a Double Quarter Pounder®, or value meals including these
products, even though the Plaintiff Class l\/lembers did not Want, and did not receive the tied
product Members of the Nationwide Class are forced to pay for the unwanted tied products that
they do not receive as a condition to purchasing a Quarter Pounder® or a Double Quarter
Pounder®, or a value meal including one of these products

74. The uniqueness and desirability of McDONALD’S tying products, including the
Quarter Pounder® and the Double Quarter Pounder®, are such that McDONALD’S is able to
coerce customers to pay for unwanted cheese that is not deiivered, as a condition to obtaining the
desired product

75. MCDONALD’S has sufficient economic and market power in the fast food quarter
pound hamburger market to force customers to purchase and pay for cheese, even though they do
not want the product and do not receive it, as a condition to purchasing a Quarter Pounder® or a
Double Quarter Pounder®. The desirability and uniqueness to consumers of the Quarter Pounder®
and Double Quarter Pounder® confers the requisite economic power on McDONALD’S in the
tying product market to coerce the purchase of, and payment for unwanted and undelivered cheese.

76. McDONALD’S actions involve a not insubstantial amount of interstate commerce
in the tied product market of cheese. The total amount of business in the tied product market of

cheese is not insubstantial or de minimis Annually, customers are forced to purchase millions of

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slices of cheese for which McDONALD’S charges at least .20 cents per slice, when the customers
do not want, and do not receive the cheese.

77. McDONALD’S tying of these two products constitutes a per se violation of the
Sherman Act.

78. Each of the members of the Nationwide Class sustained damages as a proximate
result of paying for an unwanted tied product that they did not receive. Each of the Plaintiff
Nationwide Class Members have been injured in their property by reason of McDONALD’S
employing this tying arrangement which is forbidden by the antitrust laws As a result thereof,
pursuant to 15 U.S.C. §15 (a), each ofthe Nationwide Class Members are entitled to three fold the
damages sustained by them, the cost of this suit, and reasonable attorney’s fees

WHEREFORE, Plaintiffs KISSNER and WERNER, individually and on behalf of all of

the similarly situated members of the Nationwide Class, hereby demands:

a. certification of the proposed Plaintiffs’ Nationwide Class,

b. appointment of the Plaintiffs as representatives of the Plaintiffs’ Nationwide
Class,

c. appointment of the undersigned counsel as lead counsel for the Plaintiffs’

Nationwide Class,

d. the award of compensatory damages

e. award of three fold the damages sustained by each Nationwide Class
Member,

f. enjoining the continuing wrongful conduct pursuant to 15 U.S_.C. _§26_,

g. an award of pre and post judgment interest,

h. an award of taxable costs, and

i. the recovery of reasonable attorney’s fees

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COUN’I` II
VIOLATION OF THE FLORIDA DECEPTIVE
AND UNFAIR TRADE PRACTICES AC'I`

gFlorida Subclass]
79. Plaintiffs KISSNER and WERNER and the Florida Subclass Class Members

incorporate by reference paragraphs l through 66.

80. This is an action for relief under §§ 501.201 to 501.213 of the Florida Deceptive
and Unfair Trade Practices Act (“FDUPTA”).

8l. The express purpose of FDUTPA is to c‘protect the consuming public...from those
who engage in unfair methods of competition, or unconscionable, deceptive, or unfair acts or
practices in the conduct of any trade or commerce.” § 501.202(2), Fla. Stat.

82. Section 5 01 .203 (7), Fla. Stat., defines "Consumer" as "an individual; childJ by and
through its parent or legal guardian; firrn; association; joint venture; partnership; estate; trust;
business trust; syndicate; fiduciary; corporation; or any other group or combination." Plaintiff and
the Florida Subclass l\/lembers are "Consumers" within the meaning of §501.203(7), Fla. Stat.

83. Section 501 .203(8), Fla. Stat., defines "Trade or Commerce" asc

[T]he advertising, soliciting, providing, offering, or
distributing, whether by sale, rental, or otherwise, of any good
or service, or any property, whether tangible or intangible, or
any other article, commodity, or thing of value, wherever
situated. "l`rade or Commerce" shall include the conduct of any
trade or commerce, however denominated, including any
nonprofit or not-for-profit person or activity.

84. Plaintiffs and the Florida Class l\/lembers are consumers protected by FDUPTA.

85. The advertising, menus, presentation, soliciting, providing, offering, and
distributing of Quarter Pounders®, f)ouble Quarter Pounders® and value meals including these
products by Defendant McDONALD’S to Plaintiffs and to Florida Class Members is "Trade or
Commerce" within the meaning of § 501.203(8), Fla. Stat. FDUPTA §501.204(1) declares as

unlawful “[u]nfair methods of competition, unconscionable acts or practices, and unfair or
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deceptive acts or practices in the conduct of any trade or commerce.” The Defendant’s acts and
omissions as well as its failure to use reasonable care in this matter as alleged herein constitute
unconscionable acts or practices, as well as deceptive and unfair acts or practices in the conduct
of Defendant’s trade or commerce pursuant to §501.204(l), Fla. Stat.

86. Specifically, for years McDONALD’S developed a distinct product, trademarked
the name “Quarter Pounder®” for the product, and marketed, advertised, and sold Quarter
Pounders® and Double Quarter Pounders®. By doing so, McDONALD’S established that the
Quarter Pounder® and Double Quarter Pounder® do not include cheese, and are MCDONALD’S
products that are available to be purchased Further, by naming and advertising as additional
products the “Quarter Pounder® with cheese”, and the “Double Quarter Pounder® with cheese”,
McDONALD’S affirmed and reinforced that it sells as additional products, a Quarter Pounder®,
to which a customer can add cheese, and a Double Quarter Pounder®, to which a customer can
add cheese.

87. As a result of the creation, naming, history of the sale, advertising, and promotion
of the Quarter Pounder®, and the name recognition created with respect thereto, McDONALD’S
conveys and represents to its customers that they can purchase a Quarter Pounder®, and that they
will be charged less than they will be charged for a Quarter Pounder® with cheese, and that they
can purchase a Double Quarter Pounder®, and that they will be charged less than they will be
charged for a Double Quarter Pounder® with cheese.

88. McDONALD ’S actually sells a Quarter Pounder® with cheese to its customers who
want to purchase a Quarter Pounder® MCDONALD’S misleads and forces the customer to order
and pay for a Quarter Pounder® with cheese to receive a Quarter Pounder®, requiring the customer

to pay for cheese they do not want and do not receive. McDONALD’S menu boards no longer

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identify Quarter Pounders® or Double Quarter Pounders®, and only list these products “with
cheese”.

89. McDONALD’S overcharges its customers for Quarter Pounders®, Double Quarter
Pounders®, and for value meals that include these products McDONALD’S forces its customers
to pay for cheese they do not want or receive. McDONALD’S companywide policy in this regard
is an unfair and deceptive trade practice.

90. McDONALD’S has engaged, and continues to engage, in conduct that is unfair,
deceptive and misleading to consumers in violation of FDUTPA.

9l. McDONALD’S conduct and business practices are unfair because consumers are
overcharged for their desired products, and are forced to purchase and pay for cheese that is not
part of the product they want to purchase, which they do not order, they do not want, and they do
not receive. The customers are forced to overpay for a Quarter Pounder® and for a Double Quarter
Pounder®.

92. McDONALD’S conduct and business practices are deceptive because they are
likely to deceive consumers including Plaintiffs and members of the Florida Class, by
misrepresenting through its advertising and promotion that a customer can order and pay for a
Quarter Pounder®, ora Double Quarter Pounder®, or value meals including such products

93. McDONALD’S conduct and practices misled and caused Plaintiffs and members
of the Florida Class to pay for cheese that was not wanted or received, and to overpay for the
products they desired

n 94. Plaintiffs and the Florida Subclass have been aggrieved by Defendant’s unfair and
deceptive practices in violation of F=DUPTA, by overpaying for the desired products, and by paying

for unwanted products

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95. As a direct and proximate result of Defendant’s violations of FDTUPA, Plaintiffs
and the Florida Subclass have suffered actual damages in that they overpaid for Quarter
Pounders®, Double Quarter Pounders® and value meals including these products, paying for
cheese they did not want or receive, so that Plaintiffs and Florida Subclass Members are entitled
to relief pursuant to FDUPTA §501.211(2), Fla. Stat. Plaintiffs and Florida Subclass Members are
entitled to recover the difference in value between what they were compelled to pay for and
purchase, and what they wanted and received, and all related consequential damages

96. Further, as a direct and proximate result of Defendant McDONALD’S acts and
omissions, Plaintiffs and Florida Subclass Members were forced to retain undersigned counsel and
are obligated to pay attorneys’ fees and costs Plaintiffs and Florida Subclass l\/lembers are entitled
to recover attorney’s fees and costs pursuant to §501.2105, Fla. Stat., upon prevailing in this
matter,

WHEREFORE, Plaintiffs KISSNER and WERNER, individually and on behalf of all
others similarly situated, hereby demand:

a. certification of the proposed Plaintiff Florida Subclass,

b. appointment of Plaintiffs KlS SNER and WERNER as representatives of the
Plaintiff Florida Subclass,

c. appointment of the undersigned counsel as lead counsel for the Plaintiff

Florida Subclass,

d. an award of compensatory damages

e. enjoining the wrongful conduct pursuant to §501.211 (l), Fla. Stat.,

f. an award of pre and post-judgment interest,

g. an award of taxable costs,

h. an award of attorney’s fees and costs pursuant to § 501.2105, Fla. Stat., and

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i. any and all such further relief as this Court deems just and proper.

C()UNT III _ UNJUST ENRICHMENT
gU.E. Subclass!

97. Plaintiffs KISSNER and WERNER and the U.E. Subclass Mernbers incorporate by
reference paragraphs l through 66.

98. McDONALD’S product line includes a Quarter Pounder® and a Double Quarter
Pounder®. Neither of these products include cheese.

99. McDONALD’S requires a customer who wants a Quarter Pounder® to order and
pay for a Quarter Pounder® with cheese, without cheese. Also, McDONALD’S requires its
customers who want a Double Quarter Pounder® to order and pay for a Double Quarter Pounder®
with cheese, without cheese. These practices apply to value meals including a Quarter Pounder®
or a Double Quarter Pounder®. The customer is charged for the Quarter Pounder® with cheese,
or the Double Quarter Pounder® with cheese, as applicable, both of which include a charge for
the cheese. ln all such instances the cheese for which McDONALD’S charges is not provided to
the customer.

100. lt is inequitable to require customers to pay for products that they do not want and
are not delivered to them. By doing so, McDONALD ’ S obtains a substantial benefit at the expense
of its customers, by receiving payment for a product it is not delivering to the customcr.

l()l. McDONALD’S is being unjustly enriched at its customers’ expense to the extent
that it collects payment, or a percentage of the payment for cheese that is not delivered in
connection with the sale of Quarter Pounders®, Double Quarter Pounders®, and value meals that
include one of these products

102. McDONALD’S has been unjustly enriched to the extent of the amount it receives

for cheese that is not delivered to its customers

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103.

proximate result of McDONALD’S actions

Plaintiffs and the members of the U.E. Subclass have sustained damages as a

Wl-IEREFORE, Plaintiffs KlSSNER and WERNER, individually and on behalf of all

others similarly situated, hereby demands:

j. certification of the proposed Plaintiff U.E. Subclass,

k. appointment of the Plaintiffs as representatives of the Plaintiff U.E.

Subclass,

l. appointment of the undersigned counsel as lead counsel for the Plaintiff

U.E. Subclass,

. an award of compensatory damages

n. an award of prc and post-judgment interest,

o. an award of taxable costs, and

p. any and all such further relief as this Court deems just and proper.

JURY TRIAL

Plaintiffs KIS SNER and WERNER and all Class Members demand a jury trial on all issues

so triable.

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